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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                               )
QUANTREIL LAURA,                               )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )       Civil No. 4:23-CV-40129-MRG
                                               )
CITY OF WORCESTER,                             )
EDWARD M. AUGUSTUS, JR.,                       )
JEFFREY CONROY,                                )
ARMANDO GARCIA,                                )
JANICE E. THOMPSON,                            )
DAVID ROCHE,                                   )
DANNON TRAVERS STACER,                         )
JANET J. MCGUIGGAN,                            )
                                               )
       Defendants.                             )
                                               )

                 ORDER ON MOTIONS TO DISMISS [ECF NOS. 42 & 48]

GUZMAN, J.

       In the underlying action, pro se Plaintiff Quantreil Laura (“Laura”) brings claims against

multiple defendants pursuant to 42 U.S.C. § 1983 (“§ 1983”) after an encounter at Worcester City

Hall that resulted in his criminal arrest. The prosecution for Plaintiff’s criminal arrest is currently

pending in the state district court. Because of Plaintiff’s pending state criminal case and for the

reasons stated below, the Court DISMISSES without prejudice Plaintiff’s federal claims insofar

as they seek equitable relief and STAYS Plaintiff’s federal claims for damages. Further, the Court

DISMISSES Laura’s state law claims without prejudice.

I.     BACKGROUND

       As is required in evaluating a motion to dismiss, the following facts derive from Plaintiff’s

complaint and are accepted as true with all reasonable inferences drawn in the Plaintiff’s favor.



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Aldabe v. Cornell Univ., 296 F. Supp. 3d 367, 371 (D. Mass. 2017), aff’d, No. 17-2180, 2018 U.S.

App. LEXIS 37040 (1st Cir. Dec. 7, 2018) (citing Langadinos v. Am. Airlines, Inc., 199 F.3d 68,

69 (1st Cir. 2000)). On or about February 24, 2022, Laura entered the Worcester City Hall to file

a public records request. [Compl. ¶ 29, ECF No. 1]. He was redirected to the law department to

speak with someone regarding a grievance he wanted to file. [Id. ¶ 30]. Laura alleges that the

employees within the law department chose to call the police on him in retaliation of his grievance

filing. [Id. ¶ 32]. When the police arrived, Laura alleges that an employee made false statements

to the police about him, resulting in his subsequent arrest. [Id. ¶ 33]. Laura alleges the police

officers used excess force in arresting him. [See id. ¶¶ 38, 54, 60]. As a result of the incident, Laura

was charged with trespassing, disorderly conduct, and resisting arrest. 1 [See ECF No. 49-1, at 2].

That criminal prosecution is still pending in state district court. [Id. at 4]. After his arrest, Laura

brought this action alleging multiple § 1983 claims against the City of Worcester, the City Manager

of Worcester, the attending police officers, the Assistant District Attorney in the state proceeding,

and Judge Janet McGuiggan, 2 who issued an arrest warrant for the Plaintiff. Laura’s claims seek

both declaratory relief and damages. Defendants Judge McGuiggan and Armando Garcia

(“Garcia”) have filed separate motions to dismiss on varying grounds. [ECF Nos. 42, 48].

II.     LEGAL STANDARDS

        The First Circuit has not resolved whether motions to dismiss based on abstention are

viewed under the Fed. R. Civ. P. 12(b)(1) standard or 12(b)(6) standard, and district courts within



1
  “It is well-accepted that federal courts may take judicial notice of proceedings in other courts if
those proceedings have relevance to the matters at hand.” Kowalski v. Gagne, 914 F.2d 299, 305
(1st Cir. 1990) (collecting cases) (holding that district court’s taking of judicial notice of a
defendant’s conviction was not error). As a result, the Court takes judicial notice of Plaintiff’s
criminal arrest in the matter and his pending criminal prosecution in state court.
2
  Judge McGuiggan is improperly named as a “clerk magistrate” in Plaintiff’s complaint. Compl.
¶¶ 16, 128].
                                                   2
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the First Circuit differ in their approaches. AUI Partners LLC v. State Energy Partners LLC, No.

23-12292-WGY, 2024 WL 3377996, at *4 (D. Mass. July 11, 2024) (citing Mass. Delivery Ass’n

v. Coakley, 671 F.3d 33, 40 n.6 (1st Cir. 2012)). Since the Court does not need to weigh the

evidence to determine whether abstention applies, it merely makes its decision “in consideration

of undisputed facts, namely the complaint and publicly available documents (including documents

and dockets from the state court proceedings).” Id. (citing Mass. Delivery Ass’n, 671 F.3d at 40

n.6). The Court will decide whether abstention under Younger applies as a matter of law, so it need

not resolve whether to follow a 12(b)(1) approach or 12(b)(6) approach.

       Younger v. Harris established “a strong federal policy against federal-court interference

with pending state judicial proceedings absent extraordinary circumstances.” Middlesex Cnty.

Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 431 (1982) (citing Younger, 401 U.S. 37

(1971)). The rationale behind Younger abstention roots itself in the notion of “comity” or “proper

respect for state functions,” with the presumption that state courts will properly safeguard federal

constitutional rights. Id. Even when litigants bring claims of violations of important federal rights,

abstention is still appropriate “as long as the federal claims can be ‘raised and resolved somewhere

in the state process.’” Burnham v. Massachusetts, 279 F. Supp. 3d 368, 369-70 (D. Mass. 2018)

(quoting Maymó-Meléndez v. Álvarez-Ramírez, 364 F.3d 27, 36 (1st Cir. 2004)).

       For Younger abstention to apply, a preliminary threshold issue must be satisfied: the relief

asked of the federal court must interfere with the state proceedings. Mass. Delivery Ass’n, 671

F.3d at 40-41 (collecting cases). This requirement reflects a longstanding policy against federal

interference with state judicial proceedings, which,

        is premised on ‘a proper respect for state functions, a recognition of the fact that
       the entire country is made up of a Union of separate state governments, and a
       continuance of the belief that the National Government will fare best if the States



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       and their institutions are left free to perform their separate functions in their separate
       ways.

Burnham, 279 F. Supp. 3d 368, 369 (quoting In re Justices of Superior Ct. Dep’t of Mass. Trial

Ct., 218 F.3d 11, 16 (1st Cir. 2000) (quotation marks omitted)); Younger, 401 U.S. at 44.

Interference “clearly exists where the plaintiff is seeking a declaratory judgment that a prosecution

. . . is illegal or unconstitutional.” Rio Grande Cmty. Health Ctr., Inc. v. Rullan, 397 F.3d 56, 70

(1st Cir. 2005) (citing Samuels v. Mackell, 401 U.S. 66, 72 (1971)).

       Once interference is met, the First Circuit utilizes a three-step approach to determine if

Younger abstention applies. Sirva Relocation, LLC v. Richie, 794 F.3d 185, 192 (1st Cir. 2015).

Federal courts are required to abstain if: (1) the state proceeding fits within the Younger taxonomy;

(2) the Middlesex factors weigh in favor of abstention; and (3) none of the exceptions to Younger

apply. Id. at 192-93.

       The first prong when determining if Younger abstention applies is determining if the state

proceeding fits within the Younger taxonomy. Younger only applies to “exceptional” state

proceedings, which the Supreme Court has held includes only three types of cases: (1) criminal

prosecutions, (2) “civil proceedings akin to criminal prosecutions,” and (3) “proceedings

implicating a State’s interest in enforcing the orders and judgments of its courts.” Sirva, 794 F.3d

at 192 (quoting Sprint Commc’ns., Inc. v. Jacobs, 571 U.S. 69, 73 (2013)).

       The second prong in the Younger analysis requires the Court to consider whether the

Middlesex factors weigh in favor of abstention. The Middlesex factors indicate that abstention is

favorable when: (1) the state proceeding constitutes an ongoing state judicial proceeding, (2) the

proceedings implicate important state interests, and (3) there is an adequate opportunity in the state

proceeding to raise constitutional challenges. Middlesex Cnty. Ethics Comm., 457 U.S. at 432.




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        In the third and final prong, the Court must ensure that none of the three exceptions to

Younger apply. Younger identified three exceptions when abstention should not be applied: (1)

patent or flagrant unconstitutionality in a state law, (2) bad faith or harassment in state prosecution,

or (3) the lack of a state forum that can adequately protect federal rights. See Younger, 401 U.S.

at 51, 53-54. If any of the exceptions apply to the matter at hand, Younger abstention is

inappropriate.

III.    DISCUSSION

        A.       Interference of Relief Sought

        The Court finds that the relief sought by Laura’s federal action meets the threshold issue

of interference with a state proceeding. Laura, in essence, argues that his arrest was

unconstitutional and seeks relief under § 1983. Not only would adjudication in this action interfere

with his criminal prosecution in state court, it may “completely end the prosecution were the Court

to grant the relief [he] seeks.” Burnham, 279 F. Supp. 3d at 370. Laura seeks, inter alia,

declarations that Defendants’ actions violated his constitutional rights, a determination that would

ultimately affect the proceedings in his criminal prosecution and would be a key defense in his

case. [See Compl.].

        In Burnham, plaintiff brought a § 1983 action alleging that various state officials retaliated

against him for filing civil actions. 279 F. Supp. 3d at 369. The plaintiff in that case was awaiting

trial for criminal charges, and another session of this Court abstained under Younger because the

federal action, where the plaintiff sought declaratory relief, would have interfered with his ongoing

state prosecution. Id. at 370. Like the plaintiff in Burnham, Laura’s ongoing criminal prosecution

meets the threshold requirement that the relief sought by his federal action interferes with a state

proceeding. A declaration from this Court that Defendants violated Laura’s constitutional rights in



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his arrest at the Worcester City Hall would significantly alter the proceedings in his criminal

prosecution. Interference is therefore met in this instance.

       B.      Applicable State Proceeding

       Abstention is only appropriate if there is an applicable state proceeding under the Younger

taxonomy. State criminal prosecutions fall within this taxonomy. Sirva, 794 F.3d at 192 (quoting

Sprint Commc’ns., Inc., 571 U.S. at 73). Indeed, the Younger abstention doctrine was created after

a plaintiff, charged with violation of a state criminal law, challenged the constitutionality of that

law in federal district court. 401 U.S. at 38-39. The state proceeding in that case was the plaintiff’s

criminal prosecution in state court. Clearly, the criminal prosecution Laura faces for trespass,

disorderly conduct, and resisting arrest is exactly the type of state proceeding the Supreme Court

had in mind when instructing federal courts not to interfere with state court proceedings. See id. at

43-44. Therefore, the Court finds that the first prong of Younger abstention is readily satisfied.

       C.      Middlesex Factors

       The Court will now determine if the Middlesex factors weigh in favor of abstention. As

highlighted, supra, the state proceeding satisfies the first factor that an ongoing state judicial

proceeding exists. Additionally, it is clear that the state proceeding meets the second Middlesex

factor because it implicates important state interests as the “Commonwealth of Massachusetts quite

plainly has a very significant state interest in prosecuting those who violate the state criminal law.”

Kennedy v. Town of Billerica, 594 F. Supp. 2d 117, 123 (D. Mass. 2009) (report and

recommendation adopted). The last Middlesex factor deals with the adequacy of plaintiff’s

opportunity to raise constitutional challenges. There is no indication that Laura has not had or will

not have a meaningful opportunity to present his constitutional challenges in defense of his state

prosecution. In Burnham, the plaintiff asserted that Younger abstention could not apply because



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he was allegedly prevented from presenting his arguments in state court. 279 F. Supp. 3d at 370.

The court found that despite plaintiff’s unsuccessful attempts to obtain relief in the state court “in

the manner he desire[d],” there was “no indication that he [was] foreclosed from pursuing a direct

appeal or postconviction relief in the event of a conviction.” Id. As the Burnham court noted, “the

application of Younger abstention does not turn on a litigant’s success in obtaining relief in the

state court proceeding, only his ability to do so.” Id. at 371. The Supreme Court in Younger

emphasized that accused defendants in criminal proceedings should first “set up and rely upon

[their] defense in the state courts, . . . unless it plainly appears that this course would not afford

adequate protection.” 401 U.S. at 45 (quoting Fenner v. Boykin, 271 U.S. 240, 243 (1926)). Since

Laura has not posited that he has been prevented from meaningfully presenting constitutional

challenges in defending his state criminal charges in any way, the Court finds that the third

Middlesex factor weighs in favor of abstention.

       Since all three Middlesex factors weigh in favor of abstention, the second prong of Younger

is satisfied. See Middlesex Cnty. Ethics Comm., 457 U.S. at 432.

       D.      Younger Exceptions

       The Supreme Court identified a few exceptions to Younger where abstention would be

inappropriate. A case typically only falls under one of the exceptions in unusual circumstances.

Bettencourt v. Bd. of Registration in Med. of Commonwealth of Mass., 904 F.2d 772, 779 (1st

Cir. 1990) (quoting Younger, 401 U.S. at 37, 54). The Court finds, however, that none of the

exceptions apply to the case at hand. Laura has not identified any basis in which the state laws in

his case are patently or flagrantly unconstitutional. Nor has Laura identified any bad faith or

harassment in the prosecution of his criminal charges. Lastly, the Court does not see any reason to

doubt the adequacy of the state forum to address Laura’s federally protected rights in the



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prosecution of his state charges. Therefore, since Laura fails to posit that any of the Younger

exceptions apply to his case, the Court finds no circumstances indicating that abstention is

inappropriate. See Maymó-Meléndez, 364 F.3d at 38 (considering the circumstances and holding

that the case “cannot fall within any rational Younger exception”).

       E.      Younger Abstention in § 1983 Claims

       The First Circuit has comprehensively found that claims for equitable relief under § 1983

can be properly dismissed under Younger abstention. See Rossi v. Gemma, 489 F.3d 26, 37 (1st

Cir. 2007) (citing Bettencourt, 904 F.2d at 781) (“We find that Younger abstention is appropriate

on the [plaintiff]’s § 1983 claims for equitable relief [and] affirm the district court’s dismissal of

the [plaintiff’s] constitutional claims insofar as they seek equitable relief.”). This is because

Younger abstention is based on a “notion that ‘courts of equity should not act . . . when the moving

party has an adequate remedy at law and will not suffer irreparable injury if denied [equitable]

relief.’” Mass. Delivery Ass’n, 671 F.3d at 40 (quoting Younger, 401 U.S. at 43-44). The same

can be said for actions seeking declaratory relief or injunctive relief. Id. Courts of equity may

abstain from the state proceedings because of the notions of federalism and comity, as well as the

“desire to prevent unnecessary duplication of legal proceedings.” Id. (citing Younger, 401 U.S. at

44).

       However, litigants seeking damages in a federal action (as opposed to equitable relief) do

not have the same ability to seek monetary relief in criminal proceedings in state court. Therefore,

because plaintiffs do not have ample opportunity to make these claims in the state proceeding, the

procedure for abstention when a plaintiff seeks damages under a § 1983 claim is different. See

Johnson v. Bd. of Bar Overseers of Mass., 324 F. Supp. 2d 276, 285 (D. Mass. 2004) (“The

Younger abstention doctrine does not apply, however, to [plaintiff]’s claims for money damages



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pursuant to [§ 1983] . . . since she will not have the opportunity to make these claims in the state

proceeding.”) (citing Deakins v. Monaghan, 484 U.S. 193, 202 (1988)). When a court abstains

under Younger on a damages claim, “it ordinarily may only stay the action, rather than dismiss the

action in its entirety.” Rossi, 489 F.3d at 38 (citing Quackenbash v. Allstate Ins. Co., 517 U.S. 706,

731 (1996)); see Deakins, 484 U.S. at 202 (holding that even when a district court is required to

abstain under Younger, it may not dismiss the claims and must stay claims for monetary relief that

cannot be addressed in state proceedings). The Court finds that stay is proper for Laura’s claims

insofar as they seek damages.

       Since the Court is required to abstain based on its analysis, supra, it must dismiss Laura’s

claims for equitable relief under § 1983 but must stay the proceedings for his damages claims

under § 1983 until final determination in his state court prosecution is made.

       F.      State Law Claims

       In addition to bringing federal claims under § 1983, Laura asserts claims under state law,

including false arrest, assault and battery, and false imprisonment. [Compl. ¶¶ 37-51, 69-81].

These claims are before the Court under supplemental jurisdiction. “As a general principle, the

unfavorable disposition of a plaintiff’s federal claims at the early stages of a suit . . . will trigger

the dismissal without prejudice of any supplemental state-law claims.” Rossi v. Gemma, 489 F.3d

26, 39 (1st Cir. 2007) (quoting Rodriguez v. Doral Mortgage Corp., 57 F.3d 1168, 1177 (1st Cir.

1995)); see also 28 U.S.C. § 1367(c)(3). This Court has dismissed Laura’s federal claims for

equitable relief and stayed his federal claims for monetary relief, but “the distinction makes no

difference” in the Court’s discretion to dismiss state law claims, particularly “this early in the

litigation, once the court will not go forward on any federal claims.” Id. (citing United Mine




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Workers of Am. v. Gibbs, 383 U.S. 715, 726-27 (1966)). Accordingly, the Court dismisses all of

Laura’s state law claims without prejudice.



IV.    CONCLUSION

       For the reasons stated above, the Court DISMISSES Laura’s federal claims for equitable

relief without prejudice (Counts I, III, V, VI, VII, VIII) and STAYS Laura’s federal claims for

damages (also Counts I, III, V, VI, VII, VIII) until final determination is made in the state district

court. Further, the Court DISMISSES Laura’s state law claims without prejudice for lack of

supplemental jurisdiction (Counts II & IV).

SO ORDERED.

Dated: December 6, 2024

                                                       /s/ Margaret R. Guzman
                                                      Margaret R. Guzman
                                                      United States District Judge




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